UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA )
)
V. ) Case No. 18 CR 130
)
PETER ARMBRUSTER )

VERDICT

We, the jury find as follows with respect to the charges against the defendant,
PETER ARMBRUSTER:
NOT GUILTY GUILTY

COUNT ONE: o
COUNT TWO:

COUNT FIVE:

COUNT SIX:

COUNT SEVEN:
COUNT NINE:
COUNT TEN:

COUNT ELEVEN:
COUNT TWELVE:
COUNT THIRTEEN:
COUNT FOURTEEN
COUNT FIFTEEN:
COUNT SIXTEEN:
COUNT SEVENTEEN:
COUNT EIGHTEEN:

BB Oo

ee BOR Ro RA wR wooo RK

ood oO oO Mood o

50

Case 2:18-cr-00130-MFK_ Filed 07/29/21 Page 1of2 Document 307
Date. 7-29 2021

51

Case 2:18-cr-00130-MFK Filed 07/29/21 Page 2of2 Document 307

 
